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                                   6                                 UNITED STATES DISTRICT COURT

                                   7                                NORTHERN DISTRICT OF CALIFORNIA

                                   8                                        SAN JOSE DIVISION

                                   9

                                  10        UNITED STATES OF AMERICA,                     Case No. 18-cr-00260-EJD-1
                                                       Plaintiff,                         ORDER DENYING MOTION TO
                                  11
                                                                                          SUPPRESS
                                                 v.
                                  12
Northern District of California
 United States District Court




                                  13        NAHEED MANGI,                                 Re: Dkt. No. 56
                                                       Defendant.
                                  14

                                  15           Defendant Naheed Mangi (“Mangi”) moves to suppress evidence—AT&T internet

                                  16   subscriber and location information, three seized computers, documents, and photographs—

                                  17   obtained pursuant to search warrants executed by Stanford University Department of Public Safety

                                  18   (“SUDPS”) Detectives. Def. Naheed Mangi’s Mot. to Suppress Evid. Obtained as a Result of

                                  19   Search Warrants Executed by the Stanford Univ. Dep’t of Pub. Safety (“Mot.”), Dkt. No. 56. The

                                  20   Government filed an opposition, Dkt. No. 59 (“Opp’n”), and Mangi filed a reply, Dkt. No. 60

                                  21   (“Reply”). The motion was heard on January 31, 2022 (Dkt. No. 67), after which the parties

                                  22   submitted supplemental briefing (Dkt. Nos. 68, 69). The Court conducted a further hearing on

                                  23   May 23, 2022. Having considered the parties’ briefs, the record in this case, and the comments of

                                  24   counsel, the Court DENIES Mangi’s motion to suppress for the reasons stated below.

                                  25   I.      BACKGROUND

                                  26           On August 26, 2013, SUDPS Deputy Sheriffs Scott Floerchinger (“Floerchinger”) and

                                  27   Anthony Bejaran met with Stanford University staff in Palo Alto, California. Hinckley Decl., Ex.

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                                   1   H at MANGI000280, Dkt. No. 56-2. Pursuant to a Memorandum of Understanding (“MOU”)

                                   2   between the County of Santa Clara and Stanford University, Floerchinger is a “Reserve Deputy

                                   3   Sheriff” under California Penal Code section 830.6. Id., Ex. A (“MOU”) at 2. The Stanford

                                   4   University staff told the Reserve Deputy Sheriffs that at 4:30 p.m. on August 19, 2013, the

                                   5   University fired Mangi from her position as a Clinical Research Coordinator at the University’s

                                   6   Cancer Clinical Trials Office due to a “work performance” issue. Id., Ex. H at MANGI000280.

                                   7   Stanford University staff said Mangi was “very angry” about her the termination. Id. Staff told

                                   8   Floerchinger that at some time on August 19, 2013, Mangi contacted the patient scheduler and

                                   9   “attempted to cancel several of her sponsored patient appointments, which would possibly have

                                  10   jeopardized the health and safety of the patients as well as disrupted the research being done by

                                  11   Stanford.” Id. The scheduler was suspicious of the request and consequently did not cancel the

                                  12   appointments. Id. According to Floerchinger’s Statement of Probable Cause, the clinical research
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                                  13   sponsor, Genentech, told Pei-Jen Chang, the Clinical Research Supervisor for Breast Oncology,

                                  14   that on August 19, 2013, at 2056 hours Pacific Time, someone using Mangi’s account information

                                  15   accessed and altered a clinical research database. Id. The alterations included changes to clinical

                                  16   research results and inappropriate comments about some physicians. Hinckley Decl., Ex. Id. Staff

                                  17   informed the Deputies that Mangi “had a personal laptop that she sometimes used for work” and

                                  18   that her login credentials for the database were “not removed until later on August 20.” Id. at

                                  19   MANGI000281. Stanford staff also told the Deputies that Mangi’s login credentials for

                                  20   Genentech’s database weren’t removed until sometime on August 20, 2013. Id.

                                  21          On September 5, 2013, Floerchinger and another Reserve Deputy Sheriff traveled to

                                  22   Oakland, California (located in Alameda County) and “verified Mangi’s residence” in an

                                  23   apartment on Euclid Avenue. Id. On September 9, 2013, Stanford School of Medicine’s

                                  24   Associate Chief Information Officer told Floerchinger that “the Internet Protocol (IP) address the

                                  25   laptop used to connect to the Internet ‘geo-located’ to somewhere in the Bay Area.” Id. On

                                  26   September 16, 2013, Floerchinger learned that the database in question was owned by CMED

                                  27   Clinical Services (“CMED”). Id. Sometime between September 16, 2013, and October 31, 2013,

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                                   1   Floerchinger learned that the server on which the database was housed was located in the United

                                   2   Kingdom. Mot. at 7 (citing Hinckley Decl., Ex. I at MANGI000255). On September 27, 2013,

                                   3   Floerchinger “obtained the IP address that [Mangi’s] account used when it last accessed the

                                   4   database.” Opp’n at 3 (citing Hinckley Decl., Ex. J at MANGI000268).

                                   5          In October and November of 2013, Floerchinger submitted affidavits (which he also

                                   6   amended upon learning new or corrected information) to Santa Clara County judges in support of

                                   7   two search warrants to investigate a violation of California Penal Code §502(c)(4). Hinckley

                                   8   Decl., Exs. H, J. One of the warrants was directed to AT&T for subscriber and location

                                   9   information. Hinckley Decl., Ex. J. The other was a search warrant for Mangi’s Oakland

                                  10   residence. Id., Ex. H. In the affidavits, Floerchinger referred to himself as a Detective employed

                                  11   as a “Deputy Sheriff with the [SUDPS].” Id., Ex. H at MANGI000280, Ex. J at MANGI000266.

                                  12   Floerchinger did not include information in the affidavits regarding the MOU. Nor did he disclose
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                                  13   that the database in question was located in the United Kingdom.

                                  14          Based on the information in Floerchinger’s affidavits (and amendments), Santa Clara

                                  15   County Superior Court judges issued the warrants to “ANY PEACE OFFICER IN THE COUNTY

                                  16   OF SANTA CLARA.” Id., Ex. H at MANGI000274, Ex. J at MANGI000262. On October 18,

                                  17   2013, Judge Shelyna Brown authorized the initial AT&T warrant, which Floerchinger transmitted

                                  18   to AT&T that day. Id. at MANGI000282. On October 22, 2013, AT&T rejected the warrant

                                  19   because the incorrect time zone had been listed. Id. Floerchinger amended the affidavit, and on

                                  20   November 1, 2013, Judge Brown authorized the amended warrant. Id. On November 7, 2013,

                                  21   Floerchinger executed the AT&T warrant, with assistance from AT&T personnel. Id. AT&T

                                  22   notified Floerchinger that the IP address used to access and alter the database was the same one

                                  23   registered to Mangi’s apartment. Id.

                                  24          On November 14, 2013, Santa Clara County Judge Rodney Stafford authorized the

                                  25   residential search warrant. Id., Ex. H. On November 15, 2013, when Mangi was not home, four

                                  26   SUDPS officers executed the search warrant on her residence, and seized three computers and

                                  27   various documents. Id., Ex. K at MANGI000189-90. The SUDPS officers also took photographs

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                                   1   during the search. Id., Ex. M at MANGI000287-302.

                                   2            Following the seizure, Floerchinger gave the three computers to a United States Secret

                                   3   Service Agent to “perform [] forensic analysis on the computers.” Id., Ex. K at MANGI000193.

                                   4   Secret Service discovered “connection history to the CMED Technology website” on one of the

                                   5   three computers, though “no time or date information was available and no further evidentiary

                                   6   value was found with this computer related to this case.” Ex. Q at MANGI000341.

                                   7            On June 14, 2018, Mangi was charged with two counts of intentionally damaging a

                                   8   protected computer, in violation of 18 U.S.C. §§ 1030(a)(5)(A), (c)(4)(B)(i), (c)(4)(A)(i)(I), and

                                   9   (c)(4)(A)(i)(II), and one count of accessing a protected computer without authorization and

                                  10   obtaining information, in violation of 18 U.S.C. § 1030(a)(2)(C). Indictment, Dkt. No. 1.

                                  11            Mangi now challenges both warrants and moves to suppress all evidence obtained during

                                  12   the November 15, 2013 search of her Oakland residence, and any fruits thereof.
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                                  13   II.      DISCUSSION
                                  14            Mangi raises three arguments in support of exclusion. First, Mangi contends that the Santa

                                  15   Clara County-issued warrants were void ab initio because Santa Clara County judges do not have

                                  16   jurisdiction to issue warrants relating to an alleged crime committed outside of Santa Clara

                                  17   County. Mot. at 11-14. Second, she asserts that the searches conducted pursuant to the warrants

                                  18   violated her Fourth Amendment rights because they were conducted by Reserve Deputy Sheriffs

                                  19   who had no law enforcement authority beyond the Stanford University Campus. Id. at 14-17.

                                  20   Third, she contends that the Good Faith exception—as set forth in United States v. Leon, 468 U.S.

                                  21   897 (1984)—does not apply to searches conducted by deputized private university security

                                  22   officers “who derive their law enforcement authority from” a MOU. Id. at 18-20. The

                                  23   Government contends otherwise.

                                  24            A.     The Validity of the Warrants
                                  25            “Where, as here, a search is conducted by state law enforcement pursuant to a state

                                  26   warrant, and is not otherwise ‘federal in character,’ the warrant need only conform to the

                                  27   requirements of the Federal Constitution, rather than to the procedural requirements of Rule 41,

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                                   1   Fed. R. Crim. P.” United States v. Embry, 2014 WL 1809388, at *6 (D. Mont. May 7, 2014)

                                   2   (citing United States v. Bookout, 810 F.2d 965, 967 (10th Cir. 1987)); see also United States v.

                                   3   Crawford, 657 F.2d 1041, 1046 (9th Cir. 1981) (“The mere fact that evidence obtained by state

                                   4   officers, under a state warrant, based upon violations of state law, is used in a federal prosecution

                                   5   does not invoke the requirements of Rule 41. In such cases the standard is whether the warrant

                                   6   comports with the requirements of the Fourth Amendment.”) (citations omitted).

                                   7          The Fourth Amendment of the United States Constitution provides that “[t]he right of the

                                   8   people to be secure in their persons, houses, papers, and effects, against unreasonable searches and

                                   9   seizures, shall not be violated, and no Warrants shall issue, but upon probable cause, supported by

                                  10   Oath or affirmation, and particularly describing the place to be searched, and the persons or things

                                  11   to be seized.” U.S. Const. Amend. IV. Under the Fourth Amendment, “a warrant purportedly

                                  12   authorizing a search beyond the jurisdiction of the issuing magistrate judge is void.” United States
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                                  13   v. Henderson, 906 F.3d 1109, 1117 (9th Cir. 2018). In California, a state court judge, as a

                                  14   magistrate, has jurisdiction to issue a warrant to be executed in another county “when he has

                                  15   probable cause to believe that the evidence sought relates to a crime committed within his county

                                  16   and thus pertains to a present or future prosecution in that county.” People v. Fleming, 29 Cal.3d

                                  17   698, 707 (1981); People v. Dantzler, 206 Cal. App. 3d 289, 292 (1988). Thus, the issue before

                                  18   this Court is whether the state court judges had probable cause to believe that the evidence sought

                                  19   in the two search warrants related to a crime committed in Santa Clara County. See id.

                                  20          The warrants sought evidence of a suspected violation of Penal Code section §502(c)(4)

                                  21   (database alteration). Penal Code section 502(c)(4) provides that a person is guilty of a public

                                  22   offense when he or she “[k]nowingly accesses and without permission adds, alters, damages,

                                  23   deletes, or destroys any data, computer software, or computer programs which reside or exist

                                  24   internal or external to a computer, computer system, or computer network.” Pen. Code §

                                  25   502(c)(4). Under California Penal Code section 502(j), “[f]or purposes of bringing a civil or a

                                  26   criminal action under this section, a person who causes, by any means, the access of a computer,

                                  27   computer system, or computer network in one jurisdiction from another jurisdiction is deemed to

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                                   1   have personally accessed the computer, computer system, or computer network in each

                                   2   jurisdiction.” Pen. Code § 502(j).

                                   3          Citing Penal Code section 502(j), Mangi contends that the alleged unlawful access could

                                   4   only have occurred in Alameda County or the United Kingdom, not in Santa Clara County, and

                                   5   therefore the Santa Clara County state court judges lacked jurisdiction to issue the warrants. The

                                   6   Fourth Amendment, however, requires a magistrate issuing a search warrant to have probable

                                   7   cause, not absolute certainty, that a crime was committed in Santa Clara County. Fleming, 29

                                   8   Cal.3d at 707; see also People v. Galvan, 5 Cal. App. 4th 866, 870 (1992) (“[W]hen the magistrate

                                   9   has probable cause to believe that the evidence relates to a crime committed within the county and

                                  10   pertains to a present or future prosecution in that county, he has authority to issue a warrant

                                  11   authorizing a county peace officer to search property located in another county.”). “[P]robable

                                  12   cause means ‘fair probability,’ not certainty or even a preponderance of the evidence.” United
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                                  13   States v. Gourde, 440 F.3d 1065, 1069 (9th Cir. 2006) (en banc). A magistrate judge must

                                  14   consider the “totality of the circumstances” and “answer the commonsense, practice question

                                  15   whether there is probable cause.” Id. (internal quotations omitted).

                                  16          Floerchinger’s affidavits presented sufficient evidence to show a “fair probability” that the

                                  17   alleged section 502 violation was committed in Santa Clara County and thus pertained to a present

                                  18   or future prosecution in that county. In support of the AT&T warrant, Floerchinger explained that

                                  19   Stanford University’s Cancer Institute, located in Santa Clara County, terminated Mangi from her

                                  20   position as Clinical Research Coordinator. Hinckley Decl., Ex. J at MANGI000266. Mangi’s

                                  21   former job required her to input research data into the Cancer Institute databases. Id. Upon

                                  22   termination, she was told not to access clinical research databases. Id. The clinical research

                                  23   sponsor, Genentech, told the Clinical Research Supervisor that someone using Mangi’s account

                                  24   accessed and altered one of its clinical research databases on August 20, 2013, at 0256 hours. Id.

                                  25          Floerchinger learned that Mangi occasionally used her personal laptop for work and that

                                  26   Mangi claimed the laptop “had gone missing sometime around the time of her termination.” Id. at

                                  27   MANGI000267. Stanford’s Associate CIO for the School of Medicine Information Resources and

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                                   1   Technology, Todd Ferris (“Ferris”), told Floerchinger that there was a “possibility” Mangi had

                                   2   used her personal laptop to access the Stanford network after her termination. Id. Ferris also told

                                   3   Floerchinger that “the laptop Mangi received from Stanford” was last seen online by Stanford on

                                   4   August 20, 2013, at about 1424 hours, using IP address 75.37.20.242. Id. Floerchinger also

                                   5   learned from a CMED employee that on August 20, 2013, Mangi’s account used the IP address

                                   6   75.36.178.189 to access the database. Id. at MANGI000268.

                                   7          Based on the “totality of these circumstances” described above—including Mangi’s former

                                   8   employment with Stanford, the use of Mangi’s account to access the database, Mangi’s possible

                                   9   use of the Stanford network and/or use of a Stanford laptop—Judge Brown properly determined

                                  10   that there was probable cause that a crime was committed within Santa Clara County.

                                  11          Judge Stafford also properly found that there was probable cause to search Mangi’s

                                  12   apartment in Oakland, California. Floerchinger’s affidavit recited the same facts as in the AT&T
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                                  13   warrant. Hinckley Decl., Ex. H. His affidavit also indicated that Mangi resided at the Oakland

                                  14   location and included the results of the AT&T search: the subscriber address and phone number

                                  15   associated with the IP addresses identified in the AT&T warrant matched the address and phone

                                  16   number Stanford University had on file for Mangi. Id. at MANGI000280-83. Floerchinger also

                                  17   included updated information from CMED indicating that its database was accessed on August 19,

                                  18   2013, at 2056, and not August 20, 2013, at 0256 as was previously reported. Id. at

                                  19   MANGI000282.

                                  20          Defendant relies on Dantzler to support her assertion that the Santa Clara County judges

                                  21   lacked jurisdiction to issue the out-of-county warrants; however, that case is distinguishable. In

                                  22   Dantzler, the parties stipulated that the search warrant affidavit submitted to a San Francisco

                                  23   municipal court judge for an out-of-county search did not refer to any crime committed in San

                                  24   Francisco, nor did the warrant indicate that the offenses would be prosecuted in San Francisco.

                                  25   206 Cal. App. 3d at 292. Accordingly, on appeal, the court found it was “undisputed that the

                                  26   search warrant affidavit . . . failed to indicate that the criminal activities with which appellant was

                                  27   charged took place in San Francisco and/or that the criminal prosecution for the charges was to be

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                                   1   conducted in San Francisco.” Id. at 293. In Dantzler, the municipal court judge erred by

                                   2   authorizing an out-of-county search without a showing of the “requisite nexus between the forum

                                   3   and the place to be searched.” Id. Unlike in Dantzler, Floerchinger’s affidavits showed a nexus

                                   4   between Santa Clara County and the two places that were searched. As discussed above, the

                                   5   affidavits explained that Stanford Cancer Institute, located in Santa Clara County, terminated

                                   6   Mangi from her position as Clinical Research Coordinator. Mangi’s supervisor told Floerchinger

                                   7   that Mangi was very angry about the termination. The affidavits described how Mangi allegedly

                                   8   used Stanford-issued credentials, the Stanford network, and/or a Stanford-issued laptop to access a

                                   9   database being used for ongoing Stanford clinical research. Based on these factual allegations,

                                  10   there was a fair probability that Mangi allegedly accessed the CMED database within Santa Clara

                                  11   County. Thus, the Santa Clara County judges had probable cause to believe the alleged section

                                  12   502 violation was committed in Santa Clara County and thus pertained to a present or future
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                                  13   prosecution in that county. Therefore, the Santa Clara County judges had jurisdiction to issue the

                                  14   out-of-county warrants.

                                  15          B.      SUDPS Authority
                                  16          The MOU provides that “[i]n order to provide for the assignment of certain specific police

                                  17   functions to qualified members of the Stanford University Department of Public Safety . . . , the

                                  18   Sheriff of the County of Santa Clara will deputize Reserve Deputy Sheriffs (under Section 830.6

                                  19   of the Penal Code) under conditions herewith set forth.” MOU at 2. In turn, section 830.6(a)(1)

                                  20   of the Penal Code provides in pertinent part that “[w]henever any qualified person is deputized or

                                  21   appointed by the proper authority as . . . a reserve deputy sheriff . . . and is assigned specific police

                                  22   functions by that authority, the person is a peace officer.” Cal. Penal Code § 830.6(a)(1). The

                                  23   authority of a person designated as a peace officer pursuant to this paragraph extends only for the

                                  24   duration of the person’s specific assignment.” Id. Similarly, section 830.6(a)(2) provides that

                                  25   “[w]henever any qualified person is deputized or appointed by the proper authority as . . . a reserve

                                  26   deputy sheriff . . . and is assigned to the prevention and detection of crime and the general

                                  27   enforcement of the laws of this state by that authority, the person is a “peace officer.” Cal. Penal

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                                   1   Code § 830.6(a)(2). Section II.A. of the MOU sets forth the “Specific Assignments and

                                   2   Jurisdiction of Reserve Deputy Sheriffs.” Id. at 3. Specifically, the MOU states:

                                   3                   1. General law enforcement duties in all areas shown [on an
                                                          attached map] and described in [another attachment] for the
                                   4                      primary purposes of deterring and preventing violations of, and
                                                          enforcing the laws of, the United States of America, the State of
                                   5                      California and the ordinances of the County of Santa Clara.
                                   6                   2. The performance of such further duties as from time to time and
                                                          at such locale as may be assigned by the Sheriff. The general
                                   7                      duties and priorities of the Stanford Reserves are those directed
                                                          by the Sheriff.
                                   8

                                   9   Id. 3-4. The MOU also provides that “[s]ubject to the above Specific Assignments [ ], all initial

                                  10   and follow up investigations of crimes shall be conducted by Stanford Reserves unless the Sheriff

                                  11   directs otherwise.” Id. at 4.

                                  12          Mangi contends that pursuant to the MOU and California Penal Code section 830.6,
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                                  13   Stanford Reserve Deputy Sheriffs have no law enforcement authority beyond the Stanford

                                  14   University campus and therefore, their execution of the search warrants violated her Fourth

                                  15   Amendment rights. The rationale for her argument is that Floerchinger and the other Reserve

                                  16   Deputy Sheriffs were deputized as peace officers under only subsection (a)(1) of California Penal

                                  17   Code section 830.6, which provides peace officer authority “only for the duration of the person’s

                                  18   specific assignment”; the MOU limits “specific assignments” to general law enforcement duties on

                                  19   the Stanford campus; and because the alleged violation of Penal Code §502(c)(4) did not occur on

                                  20   the Stanford campus (in Santa Clara County), they lacked authority to execute the out-of-county

                                  21   search warrants. Mot. at 14-15.

                                  22          Whether only subsection (a)(1) of Penal Code § 830.6 applies in this case is reasonably

                                  23   debatable because the MOU is vague and ambiguous. The MOU refers both to “Specific

                                  24   Assignments” as required for deputizing under subsection (a)(1), as well as “[g]eneral law

                                  25   enforcement duties . . . for the primary purposes of deterring and preventing violations of” laws,

                                  26   including California laws, as required for deputizing under subsection (a)(2). MOU at 3.

                                  27   However, even if only subsection (a)(1) applies, it does not follow that Floerchinger and the other

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                                   1   Reserve Deputy Sheriffs lacked authority to execute the search warrants at issue. Although

                                   2   subsection (a)(1) provides that a peace officer’s authority “extends only for the duration of the

                                   3   person’s specific assignment,” this is a temporal limitation, not a geographical or jurisdictional

                                   4   limitation, and thus does not necessarily preclude a Reserve Deputy Sheriff from executing a

                                   5   search warrant outside of Santa Clara County. Mangi is correct that the MOU limits “specific

                                   6   assignments” to general law enforcement duties on the Stanford campus. However, as discussed

                                   7   previously, there was probable cause to believe the alleged section 502 violation was committed

                                   8   on the Stanford campus. Pursuant to section II.D. of the MOU, Reserve Deputy Sheriffs have

                                   9   authority to conduct “all initial and follow up investigations” of that alleged crime. MOU at 4; see

                                  10   also Decl. of SUDPS Chief Laura Wilson (“Wilson Decl.”) ¶ 3, Dkt. No. 59-1 (stating that

                                  11   pursuant to the MOU, Reserve Deputy Sheriffs investigate most crimes that occur on campus,

                                  12   which includes obtaining and executing search warrants). Section II.D. of the MOU is consistent
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                                  13   with California law, which provides that the authority of a deputized peace officer extends beyond

                                  14   Santa Clara County, “to any place in the state” for “a public offense committed or which there is

                                  15   probable cause to believe has been committed within the political subdivision that employs the

                                  16   peace officer or in which the peace officer serves.” Cal. Penal Code § 830.1. Indeed, Mangi does

                                  17   not dispute that Reserve Deputy Sheriffs generally have authority to conduct investigations out-of-

                                  18   county so long as the underlying crime was committed at Stanford University. Reply at 7 n.8.

                                  19   Moreover, even if the MOU did not authorize the Reserve Deputy Sheriffs to execute the warrants

                                  20   at issue, the issuing magistrate did. See Hinckley Decl., Exs. H , K (directing “any peace officer in

                                  21   the County of Santa Clara” to search and seize the listed items). Therefore, the Court finds that

                                  22   Floerchinger and the other Reserve Deputy Sheriffs had authority to execute the warrants at issue.

                                  23          C.      Good Faith Exception
                                  24          As discussed above, the search warrants are valid and the Reserve Deputy Sheriffs had

                                  25   authority to execute them out-of-county. Assuming arguendo that the warrants were not valid,

                                  26   suppression is still not warranted. In Leon, the Supreme Court created a good faith exception to

                                  27   the exclusionary rule for objectively reasonable law enforcement activity. Leon, 468 U.S. at 919.

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                                   1   “[A] warrant issued by a magistrate normally suffices to establish that a law enforcement officer

                                   2   has acted in good faith in conducting the search.” Id. at 922 (internal quotation marks and citation

                                   3   omitted). There are exceptions to the good faith exception, including where the affiant misleads

                                   4   the magistrate. Id. at 923. “Suppression . . . remains an appropriate remedy if the magistrate or

                                   5   judge in issuing a warrant was misled by information in an affidavit that the affiant knew was false

                                   6   or would have known was false except for his reckless disregard of the truth.” Id. (emphasis

                                   7   added).

                                   8             First, Mangi contends that Floerchinger’s affidavits misled the magistrates because they

                                   9   failed to identify him as a “Santa Clara County Reserve Deputy Sheriff at Stanford” or as a

                                  10   “Stanford Reserve” deputy. However, there has been no sufficient showing that Floerchinger

                                  11   knowingly or recklessly omitted these facts. Instead, Floerchinger accurately identified himself in

                                  12   the affidavits as “Detective Scott Floerchinger,” employed “as a Deputy Sheriff with the Stanford
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                                  13   University Dept. of Public Safety.” Hinckley Decl., Ex. J at MANGI000266; Ex. H at

                                  14   MANGI000280. SUDPS uses the title “Detective” to refer to deputies assigned to its Investigative

                                  15   Services Division. Decl. of Scott Floerchinger in Supp. of the United States’ Opp’n to Def.’s Mot.

                                  16   to Suppress Search Warrants (“Floerchinger Decl.) ¶ 5, Dkt. No. 59-2; see also Wilson Decl. ¶ 3

                                  17   (referring to warrants written by a “SUDPS detective”). He also outlined his qualifications,

                                  18   including his graduation from the “basic police academy at the Santa Clara County Sheriff’s

                                  19   Office Justice Training Center” and completion of multiple Peace Officer Standards and Training

                                  20   (POST) certified courses. See Hinckley Decl., Ex. J at MANGI000266; Ex. H at MANGI000280.

                                  21   In short, Floerchinger provided the magistrates with accurate information about his qualifications

                                  22   and role within the SUDPS.

                                  23             Second, Mangi contends that Floerchinger failed to inform the magistrates that pursuant to

                                  24   the MOU, he only had authority to investigate crimes on the Stanford campus. Again, there has

                                  25   been no sufficient showing that Floerchinger knowingly or recklessly omitted this fact.

                                  26   Furthermore, as discussed above, there was probable cause to believe a crime had been committed

                                  27   on the Stanford campus, and hence Floerchinger had authority to investigate that crime.

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                                   1           Third, Mangi faults Floerchinger for failing to inform the magistrates that the CMED

                                   2   database was located in the United Kingdom and that pursuant to Penal Code section 502(j), the

                                   3   crime occurred outside of Santa Clara County. But again, there has been no sufficient showing

                                   4   that Floerchinger knowingly or recklessly omitted these facts. Floerchinger informed the

                                   5   magistrates of all entities involved with the database—who owned the database (CMED), who

                                   6   sponsored the study (Genentech), who used and maintained the database (Stanford), and who was

                                   7   impacted by its alteration (Stanford). Id., Ex. J at MANGI000266-69; Ex. H at MANGI000280-

                                   8   83. The affidavits also informed the magistrates that Mangi lived in Oakland and hence she could

                                   9   have accessed the database outside of Santa Clara County. Id., Ex. J at MANGI000267, Ex. H at

                                  10   MANGI000283. Further, the affidavits indicated that AT&T provided the IP addresses out of

                                  11   Fremont and Newark. Id. Ex. Ex. J at MANGI000268, Ex. H at MANGI000282. As discussed

                                  12   previously, Floerchinger’s affidavits set forth sufficient facts to show a “fair probability” that the
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                                  13   alleged section 502 violation was committed in Santa Clara County.

                                  14           Therefore, the good faith exception to the exclusionary rule applies, and suppression is not

                                  15   warranted or required.

                                  16   V.      CONCLUSION

                                  17           For the reasons stated above, the Court DENIES Mangi’s Motion to Suppress.

                                  18           IT IS SO ORDERED.

                                  19   Dated: May 31, 2022

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                                                                                                      EDWARD J. DAVILA
                                  22                                                                  United States District Judge
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